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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


  UNITED STATES OF AMERICA
                                                       No. 19-cr-10195-WGY
         v.

  HAOYANG YU, et al.


                                 NOTICE OF APPEARANCE

       Undersigned counsel hereby appears on behalf of defendants, Haoyang Yu and Tricon

MMIC, LLC.

                                              Respectfully submitted,

                                                     /s/ Daniel N. Marx
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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
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                                              /s/ Daniel N. Marx




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